B1 (Official Form 1) (4/13)
                                                               United States Bankruptcy Court                                                                                                 Voluntary Petition
                                                            EASTERN DISTRICT OF MICHIGAN
  Name of Debtor             (if individual, enter Last, First, Middle):                                               Name of Joint Debtor                (Spouse)(Last, First, Middle):


  Bommer, Michael D
  All Other Names used by the Debtor in the last 8 years                                                               All Other Names used by the Joint Debtor in the last 8 years
  (include married, maiden, and trade names):                                                                          (include married, maiden, and trade names):
  NONE


 Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN                                      Last four digits of Soc. Sec. or Indvidual-Taxpayer I.D. (ITIN) No./Complete EIN
  (if more than one, state all):   XXXXXXX1309                                                                         (if more than one, state all):
  Street Address of Debtor (No. & Street, City, and State):                                                            Street Address of Joint Debtor                    (No. & Street, City, and State):
  1303 Renfrew Dr Lot 194
  Owosso, MI
                                                                                               ZIPCODE                                                                                                           ZIPCODE
                                                                                               48867
  County of Residence or of the                                                                                        County of Residence or of the
  Principal Place of Business:                    Shiawassee                                                           Principal Place of Business:
  Mailing Address of Debtor                  (if different from street address):                                       Mailing Address of Joint Debtor                    (if different from street address):

  SAME
                                                                                               ZIPCODE                                                                                                           ZIPCODE


  Location of Principal Assets of Business Debtor                                                                                                                                                                 ZIPCODE
  (if different from street address above): NOT APPLICABLE


  Type of Debtor             (Form of organization)
                                                                              Nature of Business                                Chapter of Bankruptcy Code Under Which the Petition is Filed
                                                                           (Check one box.)                                                (Check one box)
                (Check one box.)                                                                                                Chapter 7                     Chapter 15 Petition for Recognition
                                                                           Health Care Business
      Individual (includes Joint Debtors)                                                                                       Chapter 9                      of a Foreign Main Proceeding
                                                                           Single Asset Real Estate as defined                  Chapter 11
      See Exhibit D on page 2 of this form.
                                                                           in 11 U.S.C. § 101 (51B)                             Chapter 12                    Chapter 15 Petition for Recognition
      Corporation (includes LLC and LLP)                                                                                                                      of a Foreign Nonmain Proceeding
                                                                           Railroad                                             Chapter 13
      Partnership
                                                                           Stockbroker                                                      Nature of Debts        (Check one box)
      Other (if debtor is not one of the above
                                                                           Commodity Broker                                   Debts are primarily consumer debts, defined                                   Debts are primarily
      entities, check this box and state type of
      entity below                                                         Clearing Bank                                      in 11 U.S.C. § 101(8) as "incurred by an                                      business debts.
                                                                                                                              individual primarily for a personal, family,
                                                                           Other
                                                                                                                              or household purpose"
             Chapter 15 Debtors                                              Tax-Exempt Entity                                                          Chapter 11 Debtors:
Country of debtor's center of main interests:                                  (Check box, if applicable.)
                                                                                                                       Check one box:
  _____________________________________                                    Debtor is a tax-exempt organization
                                                                                                                           Debtor is a small business as defined in 11 U.S.C. § 101(51D).
Each country in which a foreign proceeding by,                             under Title 26 of the United States
regarding, or against debtor is pending:                                                                                   Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                           Code (the Internal Revenue Code).
  _____________________________________
                                                                                                                       Check if:
                                   Filing Fee         (Check one box)
                                                                                                                         Debtor’s aggregate noncontingent liquidated debts (excluding debts
      Full Filing Fee attached                                                                                           owed to insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
     Filing Fee to be paid in installments (applicable to individuals only). Must                                          on 4/01/16 and every three years thereafter).
     attach signed application for the court’s consideration certifying that the debtor                            -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- -- --
     is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                  Check all applicable boxes:
                                                                                                                          A plan is being filed with this petition
     Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
     attach signed application for the court's consideration. See Offi cial Form 3B.                                        Acceptances of the plan were solicited prepetition from one or more
                                                                                                                            classes of creditors, in accordance with 11 U.S.C. § 1126(b).

  Statistical/Administrative Information                                                                                                                                                    THIS SPACE IS FOR COURT USE ONLY

         Debtor estimates that funds will be available for distribution to unsecured creditors.
         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
         distribution to unsecured creditors.
 Estimated Number of Creditors

  1-49               50-99             100-199            200-999             1,000-         5,001-          10,001-           25,001-           50,001-            Over
                                                                              5,000          10,000          25,000            50,000            100,000            100,000
 Estimated Assets
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
 Estimated Liabilities
  $0 to              $50,001 to        $100,001 to        $500,001            $1,000,001     $10,000,001     $50,000,001       $100,000,001      $500,000,001       More than
  $50,000            $100,000          $500,000           to $1               to $10         to $50          to $100           to $500           to $1 billion      $1 billion
                                                          million             million        million         million           million
                      15-30151-dof                          Doc 1                  Filed 01/22/15                 Entered 01/22/15 10:49:21                                            Page 1 of 43
B1 (Official Form 1) (4/13)                                                                                                                                           FORM B1, Page   2
 Voluntary Petition                                                                          Name of Debtor(s):
  (This page must be completed and filed in every case)
                                                                                             Michael D Bommer
                         All Prior Bankruptcy Cases Filed Within Last 8 Years                       (If more than two, attach additional sheet)
 Location Where Filed:                                                               Case Number:                                                 Date Filed:
 NONE
 Location Where Filed:                                                               Case Number:                                                 Date Filed:


  Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                  (If more than one, attach additional sheet)
 Name of Debtor:                                                                      Case Number:                                                Date Filed:
 NONE
 District:                                                                            Relationship:                                               Judge:


                                   Exhibit A                                                                                             Exhibit B
   (To be completed if debtor is required to file periodic reports                                                      (To be completed if debtor is an individual
   (e.g., forms 10K and 10Q) with the Securities and Exchange                                                           whose debts are primarily consumer debts)
   Commission pursuant to Section 13 or 15(d) of the Securities                        I, the attorney for the petitioner named in the foregoing petition, declare that I
   Exchange Act of 1934 and is requesting relief under Chapter 11)                     have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12
                                                                                       or 13 of title 11, United States Code, and have explained the relief available under
                                                                                       each such chapter. I further certify that I have delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).
       Exhibit A is attached and made a part of this petition                          X     /s/ CURTIS L. ZALESKI                                                         01/22/2015
                                                                                              Signature of Attorney for Debtor(s)                                             Date


                                                                                        Exhibit C

 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
 or safety?
         Yes, and exhibit C is attached and made a part of this petition.
         No

                                                                                    Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)

           Exhibit D, completed and signed by the debtor, is attached and made part of this petition.
 If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                                    Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)

     Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
     preceding the date of this petition or for a longer part of such 180 days than in any other District.
     There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
     Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
     principal place of business or assets in the United States but is a defendant in an action proceeding [in a federal or state court] in this District, or
     the interests of the parties will be served in regard to the relief sought in this District.

                                               Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                   (Check all applicable boxes.)
             Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)



                                                                                               (Name of landlord that obtained judgment)


                                                                                               (Address of landlord)

             Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
             entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

             Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day
             period after the filing of the petition.

             Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).

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B1 (Official Form 1) (4/13)                                                                                                                          FORM B1, Page   3
 Voluntary Petition                                                                 Name of Debtor(s):
   (This page must be completed and filed in every case)
                                                                                     Michael D Bommer
                                                                             Signatures
                    Signature(s) of Debtor(s) (Individual/Joint)                                    Signature of a Foreign Representative
I declare under penalty of perjury that the information provided in this
petition is true and correct.                                                    I declare under penalty of perjury that the information provided in this
[If petitioner is an individual whose debts are primarily consumer debts         petition is true and correct, that I am the foreign representative of a debtor
and has chosen to file under chapter 7] I am aware that I may proceed            in a foreign proceeding, and that I am authorized to file this petition.
under chapter 7, 11, 12, or 13 of title 11, United States Code,
understand the relief available under each such chapter, and choose to           (Check only one box.)
proceed under chapter 7.
                                                                                      I request relief in accordance with chapter 15 of title 11, United States
[If no attorney represents me and no bankruptcy petition preparer
                                                                                      Code. Certified copies of the documents required by 11 U.S.C. § 1515
signs the petition] I have obtained and read the notice required by
                                                                                      are attached.
11 U.S.C. §342(b)
                                                                                      Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
I request relief in accordance with the chapter of title 11, United States            chapter of title 11 specified in this petition. A certified copy of the
Code, specified in this petition.                                                     order granting recognition of the foreign main proceeding is attached.
 X /s/ Michael D Bommer
     Signature of Debtor                                                         X
                                                                                      (Signature of Foreign Representative)
 X
     Signature of Joint Debtor

                                                                                      (Printed name of Foreign Representative)
     Telephone Number (if not represented by attorney)

     01/22/2015                                                                       (Date)
     Date

                                  Signature of Attorney*
                                                                                               Signature of Non-Attorney Bankruptcy Petition Preparer
 X /s/ CURTIS L. ZALESKI                                                        I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Signature of Attorney for Debtor(s)                                        preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                compensation and have provided the debtor with a copy of this document
     CURTIS L. ZALESKI                           P 53534
     Printed Name of Attorney for Debtor(s)
                                                                                and the notices and information required under 11 U.S.C. §§ 110(b), 110
                                                                                (h), and 342(b); and, (3) if rules or guidelines have been promulgated
     ASHLEY & ZALESKI,P.C.                                                      pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
     Firm Name                                                                  bankruptcy petition preparers, I have given the debtor notice of the
                                                                                maximum amount before preparing any document for filing for a debtor
     535 EAST MAIN STREET                                                       or accepting any fee from the debtor, as required in that section. Official
     Address                                                                    Form 19 is attached.
     Curtis@azlaw.us
     Owosso , Mi                      48867
                                                                                 Printed Name and title, if any, of Bankruptcy Petition Preparer
     989/723-8166
     Telephone Number
                                                                                 Social-Security number (If the bankruptcy petition preparer is not an
     01/22/2015                                                                  individual, state the Social-Security number of the officer, principal,
     Date                                                                        responsible person or partner of the bankruptcy petition preparer.)
                                                                                 (Required by 11 U.S.C. § 110.)
 *In a case in which § 707(b)(4)(D) applies, this signature also
 constitutes a certification that the attorney has no knowledge
 after an inquiry that the information in the schedules is incorrect.            Address

                    Signature of Debtor (Corporation/Partnership)
                                                                                X
I declare under penalty of perjury that the information provided
in this petition is true and correct, and that I have been
authorized to file this petition on behalf of the debtor.                           Date
                                                                                 Signature of bankruptcy petition preparer or officer, principal,
The debtor requests the relief in accordance with the chapter of                 responsible person, or partner whose Social-Security number is provided
title 11, United States Code, specified in this petition.                       Names and Social-Security numbers of all other individuals who prepared
                                                                                or assisted in preparing this document unless the bankruptcy petition
                                                                                preparer is not an individual.
 X
     Signature of Authorized Individual



     Printed Name of Authorized Individual
                                                                                 If more than one person prepared this document, attach additional
                                                                                 sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual                                              A bankruptcy petition preparer’s failure to comply with the provisions of title
                                                                                 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                 imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.
     Date




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B6 Summary (Official Form 6 - Summary) (12/14)




                                            UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF MICHIGAN
                                                    SOUTHERN DIVISION
   In re Michael D Bommer                                                                                                    Case No.
                                                                                                                             Chapter 13


                                                                                                               / Debtor




                                                          SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the
boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all claims from Schedules D, E, and
F to determine the total amount of the debtor's liabilities. Individual debtors must also complete the "Statistical Summary of Certain Liabilities and Related Data"if they
file a case under chapter 7, 11, or 13.




                                          Attached           No. of
       NAME OF SCHEDULE                   (Yes/No)           Sheets                  ASSETS                         LIABILITIES                        OTHER

 A-Real Property
                                             Yes                1        $                         0.00

 B-Personal Property
                                             Yes                3        $                29,300.00

 C-Property Claimed as
   Exempt
                                             Yes                1

 D-Creditors Holding Secured
   Claims
                                             Yes                1                                          $                       0.00

 E-Creditors Holding
   Unsecured Priority Claims                 Yes                1                                          $                       0.00
   (Total of Claims on Schedule E)

 F-Creditors Holding
   Unsecured Nonpriority Claims
                                             Yes                8                                          $              187,591.00

 G-Executory Contracts and
   Unexpired Leases
                                             Yes                1

 H-Codebtors
                                             Yes                1

 I-Current Income of Individual
   Debtor(s)
                                             Yes                1                                                                          $                2,888.16

 J-Current Expenditures of
   Individual Debtor(s)
                                             Yes                1                                                                          $                2,430.00

                                  TOTAL                       19         $                29,300.00 $                   187,591.00




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B6 Summary (Official Form 6 - Summary) (12/14)




                                               UNITED STATES BANKRUPTCY COURT
                                                EASTERN DISTRICT OF MICHIGAN
                                                      SOUTHERN DIVISION
   In re Michael D Bommer                                                                                                        Case No.
                                                                                                                                 Chapter 13



                                                                                                               / Debtor



      STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C § 159)
 If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. § 101(8), filing a case under
 chapter 7, 11, or 13, you must report all information requested below.


     Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any information here.



 This information is for statistical purposes only under 28 U.S.C. § 159.

 Summarize the following types of liabilities, as reported in the Schedules, and total them.

   Type of Liability                                                                                              Amount
   Domestic Support Obligations (from Schedule E)                                                                 $   0.00
   Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                                     $   0.00
   Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
   disputed or undisputed)                                                                                        $   0.00
   Student Loan Obligations (from Schedule F)                                                                     $   44,332.00
   Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on Schedule E              $   0.00
   Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)                      $   0.00
                                                                                                     TOTAL        $   44,332.00

 State the following:


   Average Income (from Schedule I, Line 12)                                                                          $   2,888.16
   Average Expenses (from Schedule J, Line 22)                                                                        $   2,430.00
   Current Monthly Income (from Form 22A-1 Line 11; OR, Form 22B Line 14; OR, Form 22C-1 Line 14)                     $   0.00
 State the following:


   1. Total from Schedule D, "UNSECURED PORTION, IF ANY" column                                                                                  $   0.00
   2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY" column                                                     $   0.00
   3. Total from Schedule E, "AMOUNT NOT ENTITLED TO PRIORITY, IF ANY" column                                                                    $   0.00
   4. Total from Schedule F                                                                                                                      $   187,591.00
   5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                                                  $   187,591.00




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FORM B6A (Official Form 6A) (12/07)



In re Michael D Bommer                                                                           ,                Case No.
                                      Debtor(s)                                                                                                (if known)


                                                  SCHEDULE A-REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers
exercisable for the debtor’s own benefit. If the debtor is married, state whether the husband, wife, both, or the marital community own the property
by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write
“None” under “Description and Location of Property.”
Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory
Contracts and Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

                                                                                                                      Current
              Description and Location of Property                         Nature of Debtor's                                              Amount of
                                                                                                                       Value
                                                                          Interest in Property                   of Debtor's Interest,
                                                                                                                                         Secured Claim
                                                                                                   Husband--H    in Property Without
                                                                                                      Wife--W       Deducting any
                                                                                                      Joint--J    Secured Claim or
                                                                                                 Community--C         Exemption


None                                                                                                                                               None




No continuation sheets attached                                                            TOTAL $                             0.00
                                                                    (Report also on Summary of Schedules.)


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B6B (Official Form 6B) (12/07)



In re Michael D Bommer                                                                                    ,                  Case No.
                                                  Debtor(s)                                                                                                      (if known)


                                                        SCHEDULE B-PERSONAL PROPERTY
Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.
If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                                                      Current
               Type of Property                    N              Description and Location of Property                                                 Value
                                                                                                                                                of Debtor's Interest,
                                                   o                                                                        Husband--H          in Property Without
                                                                                                                                Wife--W            Deducting any
                                                   n                                                                                             Secured Claim or
                                                                                                                               Joint--J
                                                   e                                                                      Community--C               Exemption


1. Cash on hand.                                   X

2. Checking, savings or other financial            X
   accounts, certificates of deposit, or shares
   in banks, savings and loan, thrift, building
   and loan, and homestead associations, or
   credit unions, brokerage houses, or
   cooperatives.

3. Security deposits with public utilities,        X
   telephone companies, landlords, and
   others.
4. Household goods and furnishings,                    Household goods and furnishings                                                                   $1,500.00
   including audio, video, and computer
   equipment.                                          Location: In debtor's possession


5. Books, pictures and other art objects,          X
   antiques, stamp, coin, record, tape,
   compact disc, and other collections or
   collectibles.

6. Wearing apparel.                                    Clothing                                                                                              $400.00
                                                       Location: In debtor's possession


7. Furs and jewelry.                                   Misc Jewlery                                                                                          $200.00
                                                       Location: In debtor's possession


8. Firearms and sports, photographic, and              Guns                                                                                              $1,000.00
   other hobby equipment.
                                                       9mm Hand gun
                                                       shot 12 guage
                                                       Winshester Rifle
                                                       Location: In debtor's possession


9. Interests in insurance policies. Name           X
   insurance company of each policy and
   itemize surrender or refund value of each.




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B6B (Official Form 6B) (12/07)



In re Michael D Bommer                                                                                    ,     Case No.
                                                   Debtor(s)                                                                                   (if known)


                                                         SCHEDULE B-PERSONAL PROPERTY
                                                                            (Continuation Sheet)

                                                                                                                                   Current
               Type of Property                     N              Description and Location of Property                             Value
                                                                                                                              of Debtor's Interest,
                                                    o                                                           Husband--H    in Property Without
                                                                                                                    Wife--W      Deducting any
                                                    n                                                                          Secured Claim or
                                                                                                                   Joint--J
                                                    e                                                         Community--C         Exemption

10. Annuities. Itemize and name each issuer.        X

11. Interest in an education IRA as                 X
    defined in 26 U.S.C. 530(b)(1) or under
    a qualified State tuition plan as defined in
    26 U.S.C. 529(b)(1). Give particulars.
    (File separately the record(s) of any such
    interest(s). 11 U.S.C. 521(c).)

12. Interests in IRA, ERISA, Keogh, or other        X
    pension or profit sharing plans. Give
    particulars.
13. Stock and interests in incorporated and         X
    unincorporated businesses. Itemize.

14. Interests in partnerships or joint ventures.    X
    Itemize.

15. Government and corporate bonds and              X
    other negotiable and non-negotiable
    instruments.
16. Accounts Receivable.                            X

17. Alimony, maintenance, support, and              X
    property settlements to which the debtor
    is or may be entitled. Give particulars.
18. Other liquidated debts owed to debtor           X
    including tax refunds. Give particulars.

19. Equitable or future interests, life estates,    X
    and rights or powers exercisable for the
    benefit of the debtor other than those
    listed in Schedule of Real Property.

20. Contingent and non-contingent interests         X
    in estate of a decedent, death benefit
    plan, life insurance policy, or trust.
21. Other contingent and unliquidated claims        X
    of every nature, including tax refunds,
    counterclaims of the debtor, and rights to
    setoff claims. Give estimated value of
    each.

22. Patents, copyrights, and other intellectual     X
    property. Give particulars.

23. Licenses, franchises, and other general         X
    intangibles. Give particulars.

24. Customer lists or other compilations            X
    containing personally identifiable
    information (as described in 11 U.S.C.
    101(41A)) provided to the debtor by
    individuals in connection with obtaining
    a product or service from the debtor
    primarily for personal, family, or
    household purposes.
25. Automobiles, trucks, trailers and other             1997 Harley Electra Glide   60K Miles                                          $3,000.00
    vehicles and accessories.
                                                        Location: In debtor's possession




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B6B (Official Form 6B) (12/07)



In re Michael D Bommer                                                                               ,              Case No.
                                              Debtor(s)                                                                                                (if known)


                                                    SCHEDULE B-PERSONAL PROPERTY
                                                                       (Continuation Sheet)

                                                                                                                                           Current
                 Type of Property              N              Description and Location of Property                                          Value
                                                                                                                                      of Debtor's Interest,
                                               o                                                                    Husband--H        in Property Without
                                                                                                                        Wife--W          Deducting any
                                               n                                                                                       Secured Claim or
                                                                                                                       Joint--J
                                               e                                                                  Community--C             Exemption

                                                   1999 Chevy Silverado   - 200 K miles                                                        $2,000.00
                                                   Location: In debtor's possession


                                                   1999 Grand Prix - 200K Miles                                                                    $200.00
                                                   Location: In debtor's possession


                                                   2012 Silverado                                                                            $21,000.00
                                                   Location: In debtor's possession


26. Boats, motors, and accessories.            X

27. Aircraft and accessories.                  X

28. Office equipment, furnishings, and         X
    supplies.

29. Machinery, fixtures, equipment and         X
    supplies used in business.

30. Inventory.                                 X

31. Animals.                                   X

32. Crops - growing or harvested.              X
    Give particulars.

33. Farming equipment and implements.          X

34. Farm supplies, chemicals, and feed.        X

35. Other personal property of any kind not    X
    already listed. Itemize.




Page       3      of   3                                                                                       Total                          $29,300.00
                       15-30151-dof                Doc 1   Filed 01/22/15       Entered 01/22/15 10:49:21                Page 9 of 43
                                                                                                                   (Report total also on Summary of Schedules.)
                                                                                                         Include amounts from any continuation sheets attached.
B6C (Official Form 6C) (04/13)




In re
        Michael D Bommer                                                                     ,                  Case No.
                                       Debtor(s)                                                                                                 (if known)


                                    SCHEDULE C-PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:        Check if debtor claims a homestead exemption that exceeds $155,675.*
(Check one box)
   11 U.S.C. § 522(b) (2)
   11 U.S.C. § 522(b) (3)




                                                                   Specify Law                               Value of                  Current
             Description of Property                              Providing each                             Claimed              Value of Property
                                                                    Exemption                               Exemption             Without Deducting
                                                                                                                                     Exemptions


Household goods and                                 11 USC 522(d)(3)                                          $ 1,500.00                $ 1,500.00
furnishings

Clothing                                            11 USC 522(d)(3)                                             $ 400.00                     $ 400.00

Misc Jewlery                                        11 USC 522(d)(4)                                             $ 200.00                     $ 200.00

Guns                                                11 USC 522(d)(3)                                          $ 1,000.00                $ 1,000.00

2012 Silverado                                      11 USC 522(d)(2)                                          $ 3,675.00              $ 21,000.00
                                                    11 USC 522(d)(5)                                         $ 11,500.00




    Page No.      1 of       1

             15-30151-dof
* Amount subject                  Doc 1and Filed
                 to adjustment on 4/1/16,         01/22/15
                                           every three           Entered
                                                       years thereafter with 01/22/15     10:49:21
                                                                             respect to cases commencedPage   10 of
                                                                                                        on or after the43
                                                                                                                        date of adjustment.
B6D (Official Form 6D) (12/07)



In re Michael D Bommer                                                                              ,                                    Case No.
                                          Debtor(s)                                                                                                                              (if known)

                            SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

           State the name, mailing address, including zip code, and last four digits of any account number of all entities holding
claims secured by property of the debtor as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List
creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust,
and other security interests.
           List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the
child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the
continuation sheet provided.
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled
“Codebtor,” include the entity on the appropriate schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is
filed, state whether the husband, wife, both of them, or the marital community may be liable on each claim by placing an “H,” “W,”
“J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
           If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the
column labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an
“X” in more than one of these three columns.)
           Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the
boxes labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim
Without Deducting Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily
consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
Liabilities and Related Data.




   Check this box if debtor has no creditors holding secured claims to report on this Schedule D.


                Creditor's Name and                           Date Claim was Incurred, Nature                                         Amount of Claim                   Unsecured
                  Mailing Address                             of Lien, and Description and Market                                           Without                   Portion, If Any
                                                                                                                    Unliquidated




              Including ZIP Code and
                                                                                                                    Contingent




                                                              Value of Property Subject to Lien
                                                  Co-Debtor




                                                                                                                                      Deducting Value
                                                                                                                    Disputed




                  Account Number
              (See Instructions Above.)                       H--Husband                                                                 of Collateral
                                                              W--Wife
                                                              J--Joint
                                                              C--Community
Account No:




                                                                 Value:
Account No:




                                                                 Value:
No continuation sheets attached                                                                                Subtotal $                           $ 0.00                          $ 0.00
                                                                                                            (Total of this page)
                                                                                                                     Total $                        $ 0.00                          $ 0.00
                                                                                                        (Use only on last page)
                                                                                                                                   (Report also on Summary of   (If applicable, report also on
                                                                                                                                   Schedules.)                  Statistical Summary of
                   15-30151-dof            Doc 1                Filed 01/22/15         Entered 01/22/15 10:49:21                              Page 11 of 43     Certain Liabilities and
                                                                                                                                                                Related Data)
B6E (Official Form 6E) (04/13)


In re Michael D Bommer                                                                                   ,                             Case No.
                                            Debtor(s)                                                                                                       (if known)
               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

         A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address,
including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the property of the
debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with the type of priority.

       The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the
debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them
or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community." If
the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If
the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E
in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

        Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts
entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily
consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

         Report the total of amounts NOT entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
amounts not entitled to priority listed on this Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Individual debtors with
primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

     Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

     Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
     or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
     provided in 11 U.S.C. § 507(a)(1).

     Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
     the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

     Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
     qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
     petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

     Contributions to employee benefit plans
     Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
     cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

     Certain farmers and fishermen
     Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals
     Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
     use, that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of
     the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507
     (a)(9).
     Claims for Death or Personal Injury While Debtor Was Intoxicated
     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
     alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
  * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                        No continuation sheets attached
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B6F (Official Form 6F) (12/07)


In re Michael D Bommer                                                                                            ,                                   Case No.
                                         Debtor(s)                                                                                                                                                        (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
         State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without
priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a
creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims listed in Schedules D and E. If all
creditors will not fit on this page, use the continuation sheet provided.

     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on
the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of
them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
Community."

         If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
"Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three
columns.)

       Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedules. Report this total also on
the Summary of Schedules, and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of
Certain Liabilities and Related Data.



   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.


         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor




                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          1783
Account No:                                                             2010-11-10                                                                                                                       $ 578.00
Creditor # : 1                                                          Medical Bills/Collection Acct.
Advanced Radiology Services
3264 North Evergreen Drive
Grand Rapids MI 49525



Account No:     1783
Representing:                                                           ALLIED COLLECTION GROU
                                                                        400 ALLIED CT
                                                                        ZEELAND MI 49464
Advanced Radiology Services



          6613
Account No:                                                             2002-03-01                                                                                                                    $ 2,332.00
Creditor # : 2                                                          Credit Card Purchases
Amex
Po Box 297871
Fort Lauderdale FL 33329



     7 continuation sheets attached                                                                                                                 Subtotal $                                        $ 2,910.00
                                                                                                                                                                    Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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B6F (Official Form 6F) (12/07)   - Cont.


In re Michael D Bommer                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          1861
Account No:                                                             2013-04-11                                                                                                                       $ 172.00
Creditor # : 3
Capital Pathology
117 East Walker
Saint Johns MI 48879



Account No:     1861
Representing:                                                           MID MICHIGAN COLLECTIO
                                                                        117 EAST WALKER
                                                                        SAINT JOHNS MI 48879
Capital Pathology



          0001
Account No:                                                             2010-11-15                                                                                                                       $ 186.00
Creditor # : 4                                                          Medical Bills
Centis Health
PO Box 64378
Saint Paul MN 55164



Account No:     0001
Representing:                                                           I C SYSTEM INC
                                                                        PO BOX 64378
                                                                        SAINT PAUL MN 55164
Centis Health



Account No:                                                             4/12                                                                                                                             $ 227.00
Creditor # : 5                                                          City taxes
City of Lansing
124 W Michigan Avenue
Lansing MI 48933




Sheet No.      1 of        7 continuation sheets attached to Schedule of                                                                            Subtotal $                                           $ 585.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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B6F (Official Form 6F) (12/07)   - Cont.


In re Michael D Bommer                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          1857
Account No:                                                             2012-05-07                                                                                                                       $ 307.00
Creditor # : 6                                                          Utilities
Directv Quad
1309 Technology Parkway
Cedar Falls IA 50613



Account No:     1857
Representing:                                                           CBE GROUP
                                                                        1309 TECHNOLOGY PKWY
                                                                        CEDAR FALLS IA 50613
Directv Quad



Account No:                                                             3/11                                                                                                                              $ 42.00
Creditor # : 7                                                          Medical Bills/Collection Acct.
Emerg. Professionals of MI PC
3585 Ridge Park Dr
Akron OH 44333-8203



          7719
Account No:                                                             2009-02-16                                                                                                                       $ 659.00
Creditor # : 8
Huron Valley AmbulanCe
311 North Main St
Ann Arbor MI 48104



Account No:     7719
Representing:                                                           ANN ARBOR CREDIT BUREA
                                                                        311 N MAIN ST
                                                                        ANN ARBOR MI 48104
Huron Valley AmbulanCe




Sheet No.      2 of        7 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 1,008.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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B6F (Official Form 6F) (12/07)   - Cont.


In re Michael D Bommer                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
          5608
Account No:                                                             2009-01-07                                                                                                                       $ 678.00
Creditor # : 9
Independent Emergency
8155 Executive Ct STE 10
Lansing MI 48917



Account No:     5608
Representing:                                                           MONEY RECOVERY NATIONW
                                                                        8155 EXECUTIVE CT STE 10
                                                                        LANSING MI 48917
Independent Emergency



          82N1
Account No:                                                             2011-01-11                                                                                                                    $ 1,592.00
Creditor # : 10                                                         Medical Bills
INgham Regional Medical
2727 South Pennsylvania Ave
LANSING MI



Account No:     82N1
Representing:                                                           SENEX SERVICES CORP
                                                                        333 FOUNDS RD
                                                                        INDIANAPOLIS IN 46268
INgham Regional Medical



Account No:                                                             4/12                                                                                                                             $ 142.00
Creditor # : 11                                                         Medical Bills/Collection Acct.
Lansing Radiology Ass.
4748 Reliable Parkway
Chicago IL 60686




Sheet No.      3 of        7 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 2,412.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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B6F (Official Form 6F) (12/07)   - Cont.


In re Michael D Bommer                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:                                                             4/12                                                                                                                             $ 437.00
Creditor # : 12                                                         Medical Bills/Collection Acct.
MEMORIAL HEALTHCARE
PO BOX 1630
Owosso MI 48867



Account No:                                                             4/08                                                                                                                         $ 15,074.00
Creditor # : 13                                                         Student Loan
Michigan Guarantee Agency
1900 Charles Bryan Rd Ste 110
P.O. Box 34111
Memphis TN 38184-0111


Account No:

Representing:                                                           RAB
                                                                        P.O. Box 34111
                                                                        Cordova TN 38016
Michigan Guarantee Agency



Account No:                                                             4/11                                                                                                                             $ 804.00
Creditor # : 14                                                         Medical Bills
MSU Health Team
16800 Collections Center Drive
Chicago IL 60693-6800



Account No:                                                             4/11                                                                                                                              $ 35.00
Creditor # : 15                                                         Medical Bills
OWOSSO Eye Care
122 N Washington St
Owosso MI 48867-2827




Sheet No.      4 of        7 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 16,350.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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B6F (Official Form 6F) (12/07)   - Cont.


In re Michael D Bommer                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:                                                             2/08                                                                                                                        $ 118,800.00
Creditor # : 16                                                         Student Loans
Sallie Mae
P.O. Box 3319
Wilmington DE 19804



Account No:

Representing:                                                           ALLIED INTERSTATE, INC.
                                                                        PO BOX 361347
                                                                        Columbus OH 43236
Sallie Mae



Account No:

Representing:                                                           NES
                                                                        29125 Solon Road
                                                                        Solon OH 44139-3442
Sallie Mae



          7643
Account No:                                                             2010-09-21                                                                                                                   $ 16,000.00
Creditor # : 17                                                         Medical Bills/Collection Acct.
Sparrow Health SYstems
3886 Solution Center
Chicago IL 60677-3008



Account No:     7643
Representing:                                                           LANSING PROFESSIONAL B
                                                                        100 S OTTAWA ST STE B
                                                                        SAINT JOHNS MI 48879
Sparrow Health SYstems




Sheet No.      5 of        7 continuation sheets attached to Schedule of                                                                            Subtotal $                                     $ 134,800.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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B6F (Official Form 6F) (12/07)   - Cont.


In re Michael D Bommer                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:     7643
Representing:                                                           John Bradshaw
                                                                        P.O Box 50431
                                                                        Kalamazoo MI 49005-0431
Sparrow Health SYstems



Account No:                                                             3/12                                                                                                                             $ 268.00
Creditor # : 18                                                         Medical Bills
Sparrow Regional Labs
8123 Reliable Parkway
Chicago IL 60686



Account No:                                                             3/09                                                                                                                         $ 20,000.00
Creditor # : 19                                                         Student Loan
STATE of Michigan/Treasury                                              Student Loan Garnishment
Lansing MI 48922




Account No:

Representing:                                                           State of Michigan Collections
                                                                        P.O. Box 30785
                                                                        Lansing MI 48909
STATE of Michigan/Treasury



          5544
Account No:                                                             2002-09-08                                                                                                                    $ 2,228.00
Creditor # : 20                                                         Student Loan
U S Dept Of Ed/gsl/atl
Po Box 4222
Iowa City IA 52244




Sheet No.      6 of        7 continuation sheets attached to Schedule of                                                                            Subtotal $                                       $ 22,496.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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B6F (Official Form 6F) (12/07)   - Cont.


In re Michael D Bommer                                                                                            ,                                   Case No.
                                           Debtor(s)                                                                                                                                                      (if known)
          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                    (Continuation Sheet)




         Creditor's Name, Mailing Address                                    Date Claim was Incurred,                                                                                           Amount of Claim
                                                                             and Consideration for Claim.




                                                                                                                                                                      Unliquidated
                                                        Co-Debtor
                  including Zip Code,




                                                                                                                                                       Contingent
                                                                              If Claim is Subject to Setoff, so State.




                                                                                                                                                                                     Disputed
                 And Account Number
                                                                    H--Husband
                 (See instructions above.)                          W--Wife
                                                                    J--Joint
                                                                    C--Community
Account No:     5544
Representing:                                                           Performance Recovery
                                                                        P.O. Box 9054
                                                                        Pleasanton CA 94566
U S Dept Of Ed/gsl/atl



          4020
Account No:                                                             2003-07-25                                                                                                                    $ 7,030.00
Creditor # : 21                                                         Student Loan
Us Dept Ed
Po Box 5609
Greenville TX 75403



Account No:




Account No:




Account No:




Sheet No.      7 of        7 continuation sheets attached to Schedule of                                                                            Subtotal $                                        $ 7,030.00
Creditors Holding Unsecured Nonpriority Claims                                                                                                                      Total $
                                                                               (Use only on last page of the com pleted Schedule F. Report also on Sum m ary of                                    $ 187,591.00
                                                                       Schedules and, if applicable, on the Statistical Sum m ary of Certain Liabilities and Related


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B6G (Official Form 6G) (12/07)




In re Michael D Bommer                                                                                         / Debtor             Case No.
                                                                                                                                                                        (if known)


                  SCHEDULE G-EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State the nature of
debtor's interests in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing
addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See,
11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).



   Check this box if the debtor has no executory contracts or unexpired leases.

               Name and Mailing Address,                                                        Description of Contract or Lease and
                 Including Zip Code, of                                                              Nature of Debtor's Interest.
                 Other Parties to Lease                                                State whether Lease is for Nonresidential Real Property.
                      or Contract.                                                      State Contract Number of any Government Contract.




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                                                                                                                                                   43              1 of          1
B6H (Official Form 6H) (12/07)




In re Michael D Bommer                                                                        / Debtor         Case No.
                                                                                                                                            (if known)


                                                    SCHEDULE H-CODEBTORS

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preeceding the commencement of the case, identify the name of the debtors spouse and of
any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used by
the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
   Check this box if the debtor has no codebtors.

                        Name and Address of Codebtor                                             Name and Address of Creditor




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                                                                                                                               43         1 of       1
 Fill in this information to identify your case:

                     Michael D Bommer
 Debtor 1           ___________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            __________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name

                                           EASTERN
  United States Bankruptcy Court for the: ________________              MICHIGAN
                                                           District of ______________________

 Case number         ___________________________________________                                     Check if this is:
  (If known)
                                                                                                      An amended filing
                                                                                                      A supplement showing post-petition
                                                                                                        chapter 13 income as of the following date:
                                                                                                        ________________
Official Form %6I                                                                                      MM / DD / YYYY


Schedule I: Your Income                                                                                                                           12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔
    information about additional         Employment status             Employed                                         Employed
    employers.                                                         Not employed                                     Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation
                                                                    Manager
                                                                    __________________________________            __________________________________
    Occupation may Include student
    or homemaker, if it applies.
                                         Employer’s name             Sun Communities
                                                                    __________________________________            __________________________________


                                         Employer’s address         27777 Franklin Rd
                                                                   _______________________________________       ________________________________________
                                                                    Number Street                                  Number   Street
                                                                    Ste 200
                                                                   _______________________________________       ________________________________________

                                                                   _______________________________________       ________________________________________

                                                                     Southfield         MI         48034
                                                                   _______________________________________       ________________________________________
                                                                    City            State  ZIP Code                City                State ZIP Code

                                         How long employed there?         _______
                                                                          2 years                                   _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                For Debtor 1       For Debtor 2 or
                                                                                                                   non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.       2.           3787.33                   0.00
                                                                                                $___________          $____________

 3. Estimate and list monthly overtime pay.                                            3.             0.00
                                                                                             + $___________       +           0.00
                                                                                                                      $____________


 4. Calculate gross income. Add line 2 + line 3.                                       4.           3787.33
                                                                                                $__________                   0.00
                                                                                                                      $____________



                15-30151-dof
Official Form %6I
                                        Doc 1         Filed 01/22/15      Entered 01/22/15 10:49:21
                                                               Schedule I: Your Income
                                                                                                                          Page 23 of 43       page 1
Debtor 1
                  Michael D Bommer
                 _______________________________________________________                                                 Case number (if known)_____________________________________
                 First Name         Middle Name              Last Name



                                                                                                                        For Debtor 1         For Debtor 2 or
                                                                                                                                             non-filing spouse

   Copy line 4 here............................................................................................ Î 4.         3787.33
                                                                                                                         $___________                     0.00
                                                                                                                                                 $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                          5a.           756.17
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5b. Mandatory contributions for retirement plans                                                           5b.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5c. Voluntary contributions for retirement plans                                                           5c.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5d. Required repayments of retirement fund loans                                                           5d.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5e. Insurance                                                                                              5e.           143.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5f. Domestic support obligations                                                                           5f.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
                                                                                                                                0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     5g. Union dues                                                                                             5g.
     5h. Other deductions. Specify: __________________________________                                          5h.              0.00
                                                                                                                       + $____________       +             0.00
                                                                                                                                                 $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                   6.           899.17
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                          7.         2888.16
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00                      0.00
                                                                                                                        $____________            $_____________
           monthly net income.                                                                                  8a.
     8b. Interest and dividends                                                                                 8b.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                0.00                      0.00
                                                                                                                        $____________            $_____________
           settlement, and property settlement.                                                                 8c.
     8d. Unemployment compensation                                                                              8d.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8e. Social Security                                                                                        8e.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental                                                 0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                           8g.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

     8h. Other monthly income. Specify: _______________________________                                         8h.    + $____________
                                                                                                                                 0.00                   0.00
                                                                                                                                             + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                        9.             0.00
                                                                                                                        $____________                     0.00
                                                                                                                                                 $_____________

10. Calculate monthly income. Add line 7 + line 9.                                                                          2,888.16                                  2888.16
                                                                                                                        $___________     +                0.00 = $_____________
                                                                                                                                                 $_____________
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                   10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11.               0.00
                                                                                                                                                                     + $_____________
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             2888.16
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                               12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     ✔
          No.
          Yes. Explain:


                 15-30151-dof
Official Form %6I
                                                  Doc 1          Filed 01/22/15      Entered 01/22/15 10:49:21
                                                                          Schedule I: Your Income
                                                                                                                                                   Page 24 of 43          page 2
  Fill in this information to identify your case:

  Debtor 1           Michael D Bommer
                    __________________________________________________________________
                      First Name              Middle Name             Last Name                       Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                       An amended filing
                                         EASTERN                        MICHIGAN
                                                                                                       A supplement showing post-petition chapter 13
  United States Bankruptcy Court for the:___________________District of___________________
                                                                                                          expenses as of the following date:
                                                                                                          ________________
  Case number         ___________________________________________                                         MM / DD / YYYY
  (If known)
                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                          maintains a separate household
Official Form %6J
Schedule J: Your Expenses                                                                                                                            12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?

                    No
                    Yes. Debtor 2 must file a separate Schedule J.

2. Do you have dependents?                  
                                            ✔   No                                 Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                              No
                                                                                   _________________________                ________
   names.                                                                                                                                     Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

                                                                                   _________________________                ________          No
                                                                                                                                              Yes

3. Do your expenses include                 ✔
                                               No
   expenses of people other than
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value
of such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                       Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                            500.00
                                                                                                                              $_____________________
     any rent for the ground or lot.                                                                                  4.

     If not included in line 4:
     4a.    Real estate taxes                                                                                         4a.
                                                                                                                                               0.00
                                                                                                                              $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                              4b.
                                                                                                                                               0.00
                                                                                                                              $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                      0.00
                                                                                                                              $_____________________
     4d.    Homeowner’s association or condominium dues                                                               4d.                      0.00
                                                                                                                              $_____________________

Official Form15-30151-dof
             %6J                         Doc 1         Filed Schedule
                                                              01/22/15 J: YourEntered
                                                                               Expenses 01/22/15 10:49:21                     Page 25 of 43      page 1
                  Michael D Bommer
 Debtor 1        _______________________________________________________                 Case number (if known)_____________________________________
                 First Name     Middle Name           Last Name




                                                                                                                    Your expenses

                                                                                                                                    0.00
                                                                                                                   $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                              5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                  6a.
                                                                                                                                  220.00
                                                                                                                   $_____________________
      6b.   Water, sewer, garbage collection                                                                6b.                     0.00
                                                                                                                   $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                  6c.                   190.00
                                                                                                                   $_____________________
      6d.   Other. Specify: _______________________________________________                                 6d.                     0.00
                                                                                                                   $_____________________

 7. Food and housekeeping supplies                                                                          7.                    450.00
                                                                                                                   $_____________________

 8. Childcare and children’s education costs                                                                8.                      0.00
                                                                                                                   $_____________________
 9. Clothing, laundry, and dry cleaning                                                                     9.                     75.00
                                                                                                                   $_____________________
10.   Personal care products and services                                                                   10.                    50.00
                                                                                                                   $_____________________
11.   Medical and dental expenses                                                                           11.                    60.00
                                                                                                                   $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.                                                                  450.00
                                                                                                                   $_____________________
      Do not include car payments.                                                                          12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                    13.
                                                                                                                                  100.00
                                                                                                                   $_____________________
14.   Charitable contributions and religious donations                                                      14.                     0.00
                                                                                                                   $_____________________

15.   Insurance.                                                                                                                                  1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                   15a.
                                                                                                                                    0.00
                                                                                                                   $_____________________
      15b. Health insurance                                                                                 15b.                    0.00
                                                                                                                   $_____________________
      15c. Vehicle insurance                                                                                15c.                  285.00
                                                                                                                   $_____________________
      15d. Other insurance. Specify:_______________________________________                                 15d.                    0.00
                                                                                                                   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                    0.00
                                                                                                                   $_____________________
      Specify: ________________________________________________________                                     16.

17.   Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                       17a.
                                                                                                                                    0.00
                                                                                                                   $_____________________

      17b. Car payments for Vehicle 2                                                                       17b.
                                                                                                                                    0.00
                                                                                                                   $_____________________

      17c. Other. Specify:_______________________________________________                                   17c.
                                                                                                                                    0.00
                                                                                                                   $_____________________

      17d. Other. Specify:_______________________________________________                                   17d.                    0.00
                                                                                                                   $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted                                       0.00
      from your pay on line 5, Schedule I, Your Income (Official Form B 6I).                                 18.   $_____________________


19.   Other payments you make to support others who do not live with you.
                                                                                                             19.                    0.00
      Specify:_______________________________________________________                                              $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
                                                                                                                                    0.00
                                                                                                                   $_____________________
      20a. Mortgages on other property                                                                      20a.

      20b. Real estate taxes                                                                                20b.
                                                                                                                                    0.00
                                                                                                                   $_____________________
                                                                                                                                    0.00
                                                                                                                   $_____________________
      20c. Property, homeowner’s, or renter’s insurance                                                     20c.
                                                                                                                                    0.00
                                                                                                                   $_____________________
      20d. Maintenance, repair, and upkeep expenses                                                         20d.

      20e. Homeowner’s association or condominium dues                                                      20e.                    0.00
                                                                                                                   $_____________________



 Official Form15-30151-dof
              %6J                            Doc 1      Filed Schedule
                                                               01/22/15 J: YourEntered
                                                                                Expenses 01/22/15 10:49:21         Page 26 of 43         page 2
                  Michael D Bommer
 Debtor 1        _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name           Last Name




21.                     Pets expense
       Other. Specify: _________________________________________________                                         21.                   50.00
                                                                                                                       +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                                2430.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                      2888.16
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                  2430.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                       458.16
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      ✔   No.
         Yes.     Explain here:




 Official Form15-30151-dof
              %6J                           Doc 1      Filed Schedule
                                                              01/22/15 J: YourEntered
                                                                               Expenses 01/22/15 10:49:21              Page 27 of 43          page 3
 B 7 (Official Form 7) (4/13)

                                            UNITED STATES BANKRUPTCY COURT
                                              EASTERN DISTRICT OF MICHIGAN
                                                    SOUTHERN DIVISION

In re: Michael D Bommer                                                                                   ,           Case No.
                                               Debtor                                                                                      (if known)




                                                           STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether
or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not diclose the child's name. See, 11
U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

          Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19-25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to
any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.



                                                                           DEFINITIONS
          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case,
any of the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor my also be "in
business" for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement
income from the debtor's primary employment.

           "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporation debtor
and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. §101(2), (31).




          1. Income from employment or operation of business
 None     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business, including
          part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this case was
          commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that maintains, or has
          maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of
          the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must
          state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

AMOUNT                                                   SOURCE

Year to date: $1,434.00                                  Sun
   Last Year: $45451                                     Sun
Year before: $ 48,197                                    Sun


          2. Income other than from employment or operation of business
 None     State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's business during the two years
          immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse separately. (Married
          debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are separated and
          a joint petition is not filed.)




                  15-30151-dof             Doc 1        Filed 01/22/15                                Statement of
                                                                                   Entered 01/22/15 10:49:21       Affairs
                                                                                                                Page    28- of
                                                                                                                            Page
                                                                                                                               431
B7 - (Official Form 7) (4/13)


         3. Payments to creditors
None     Complete a. or b., as appropriate, and c.

         a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other debts to any
         creditor, made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that constitutes or is
         affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
         obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors
         filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
         separated and a joint petition is not filed.)




None     b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately preceding the
         commencement of this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $6,225*. If the debtor is
         an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
         repayment schedule under a plan by an approved nonprofit budgeting and creditor counseling agency. (Married debtors filingunder chapter 12 or chapter 13
         must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
         petition is not filed.)


         * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




None     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
         were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
         unless the spouses are separated and a joint petition is not filed.)




         4. Suits and administrative proceedings, executions, garnishments and attachments
None     a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this bankruptcy case.
         (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
         the spouses are separated and a joint petition is not filed.)

CAPTION OF SUIT                               NATURE OF                                     COURT OR AGENCY
AND CASE NUMBER                               PROCEEDING                                      AND LOCATION                                 STATUS OR DISPOSITION

Sparrow /St                                   Civil                                         54 Judicial Circuit                            Judgement entered
Lawrence                                                                                    124 W Michigan Ave
v                                                                                           Lansing MI
Michael Bommer
12-02252


None     b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding the
         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


NAME AND ADDRESS OF PERSON FOR                                               DATE OF
WHOSE BENEFIT PROPERTY WAS SEIZED                                            SEIZURE                     DESCRIPTION AND VALUE OF PROPERTY

Name: Sparrow Health SYstems                                                 11-12                       Description: $165    Bi weekley
Address: 3886 Solution Center                                                2014-15                     Value:   4 pay periods
Chicago, IL 60677-3008


Name: STATE of Michigan/Treasury                                             Bi weekley                  Description: 271.00 bi weekly
Address:                                                                                                 since 2009
Lansing, MI 48922                                                                                        Value: 550 per month see pay stub




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         5. Repossessions, foreclosures and returns
None     List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to the seller,
         within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
         concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




         6. Assignments and receiverships
None     a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case. (Married
         debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed, unless the
         spouses are separated and a joint petition is not filed.)




None     b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
         whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




         7. Gifts
None     List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual gifts to
         family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100 per recipient.
         (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
         unless the spouses are separated and a joint petition is not filed.)




         8. Losses
None     List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
         commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not a joint
         petition is filed, unless the spouses are separated and a joint petition is not filed.)




         9. Payments related to debt counseling or bankruptcy
None     List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
         consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement of
          this case.

                                                         DATE OF PAYMENT,                   AMOUNT OF MONEY OR
NAME AND ADDRESS OF PAYEE                                NAME OF PAYER IF OTHER THAN DEBTOR DESCRIPTION AND VALUE OF PROPERTY

Payee: CURTIS L. ZALESKI                                 Date of Payment:                                             $0.00
Address:                                                 Payor: Michael D Bommer
535 EAST MAIN STREET
Curtis@azlaw.us
Owosso , Mi 48867


         10. Other transfers
None     a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either absolutely
         or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
         transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




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None     b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar device
         of which the debtor is a benificiary.




         11. Closed financial accounts
None     List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise transferred
         within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts, certificates of deposit, or
         other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
         institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or both
         spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




         12. Safe deposit boxes
None     List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately preceding
         the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether
         or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)




         13. Setoffs
None     List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this case.
         (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint petition is filed, unless
         the spouses are separated and a joint petition is not filed.)




         14. Property held for another person
None     List all property owned by another person that the debtor holds or controls.




         15. Prior address of debtor
None     If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during that
         period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.




         16. Spouses and Former Spouses
None     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada,
         New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case, identify the name of
         the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.




         17. Environmental Information
None     For the purpose of this question, the following definitions apply:

         "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
         wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating the
         cleanup of these substances, wastes, or material.

         "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
         debtor,
         including, but not limited to disposal sites.




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 B7 - (Official Form 7) (4/13)
          "Hazardous Material" means anything defined as hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant or
          similar termunder an Environmental Law:

          a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or potentially liable
          under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the Environmental Law:




 None     b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate the
          governmental unit to which the notice was sent and the date of the notice.




 None     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law, with respect to which the debtor is or was a
          party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.




          18. Nature, location and name of business
 None     a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates of all
          businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole proprietor, or was
          self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
          which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding the commencement of this case

                   If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
          all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately preceding the
          commencment of this case.

                   If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates of
          all businesses     in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately preceding the
          commencment of this case.




 None     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.




            The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or
has been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole
proprietor, or self-employed in a trade, profession, or other activity, either full- or part-time.

             (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)




          19. Books, records and financial statements
 None     a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or supervised the keeping of
          books of account and records of the debtor.




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None     b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited the books of account and records,
         or prepared a financial statement of the debtor.




None     c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the debtor. If
         any of the books of account and records are not available, explain.




None     d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by the debtor
         within two years immediately preceding the commencement of this case.




         20. Inventories
None     a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the dollar
         amount and basis of each inventory.




None     b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.




         21. Current Partners, Officers, Directors and Shareholders
None     a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.




None     b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or holds 5
         percent or more of the voting or equity securities of the corporation.




         22. Former partners, officers, directors and shareholders
None     a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.




None     b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the
         commencement of this case.




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         23. Withdrawals from a partnership or distribution by a corporation
None     If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses,
         loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.




         24. Tax Consolidation Group.
None     If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax purposes
         of which the debtor has been a member at any time within six years immediately preceeding the commencement of the case.




         25. Pension Funds.
None     If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer, has been
         responsible for contributing at any time within six years immediately preceding the commencement of the case.




[If completed by an individual or individual and spouse]


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto and that
they are true and correct.



       Date   01/22/2015                         Signature      /s/ Michael D Bommer
                                                 of Debtor


                                                 Signature
       Date
                                                 of Joint Debtor
                                                 (if any)




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    DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and
34(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the
debtor, as required by that section.



Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                              Social-Security No.(Required by 11 U.S.C. § 110.)


If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social-security number of the officer, principal,, responsible
person, or partner who signs this document.




Address



   X
       Signature of Bankruptcy Petition Preparer                                                                            Date




Names and Social-Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
not an individual:




If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156.




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                                  UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF MICHIGAN
                                          SOUTHERN DIVISION


In re Michael D Bommer                                                                    Case No.
                                                                                          Chapter 13
                                                                            / Debtor
    Attorney for Debtor:   CURTIS L. ZALESKI



                                       VERIFICATION OF CREDITOR MATRIX


                  The above named Debtor(s) hereby verify that the attached list of creditors is true and correct to the

   best of our knowledge.




Date: 01/22/2015                                                   /s/ Michael D Bommer
                                                                   Debtor




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                       Advanced Radiology Services
                       3264 North Evergreen Drive
                       Grand Rapids, MI 49525


                       ALLIED COLLECTION GROU
                       400 ALLIED CT
                       ZEELAND, MI 49464


                       ALLIED INTERSTATE, INC.
                       PO BOX 361347
                       Columbus, OH 43236


                       Amex
                       Po Box 297871
                       Fort Lauderdale, FL    33329


                       ANN ARBOR CREDIT BUREA
                       311 N MAIN ST
                       ANN ARBOR, MI 48104


                       Capital Pathology
                       117 East Walker
                       Saint Johns, MI 48879


                       CBE GROUP
                       1309 TECHNOLOGY PKWY
                       CEDAR FALLS, IA 50613


                       Centis Health
                       PO Box 64378
                       Saint Paul, MN     55164


                       City of Lansing
                       124 W Michigan Avenue
                       Lansing, MI 48933


                       Directv Quad
                       1309 Technology Parkway
                       Cedar Falls, IA 50613


                       Emerg. Professionals of MI PC
                       3585 Ridge Park Dr
                       Akron, OH 44333-8203




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                       Huron Valley AmbulanCe
                       311 North Main St
                       Ann Arbor, MI 48104


                       I C SYSTEM INC
                       PO BOX 64378
                       SAINT PAUL, MN     55164


                       Independent Emergency
                       8155 Executive Ct STE 10
                       Lansing, MI 48917


                       INgham Regional Medical
                       2727 South Pennsylvania Ave
                       LANSING, MI


                       John Bradshaw
                       P.O Box 50431
                       Kalamazoo, MI      49005-0431


                       LANSING PROFESSIONAL B
                       100 S OTTAWA ST STE B
                       SAINT JOHNS, MI 48879


                       Lansing Radiology Ass.
                       4748 Reliable Parkway
                       Chicago, IL 60686


                       MEMORIAL HEALTHCARE
                       PO BOX 1630
                       Owosso, MI 48867


                       Michigan Guarantee Agency
                       1900 Charles Bryan Rd Ste 110
                       P.O. Box 34111
                       Memphis, TN 38184-0111


                       MID MICHIGAN COLLECTIO
                       117 EAST WALKER
                       SAINT JOHNS, MI 48879


                       MONEY RECOVERY NATIONW
                       8155 EXECUTIVE CT STE 10
                       LANSING, MI 48917




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                       MSU Health Team
                       16800 Collections Center Drive
                       Chicago, IL 60693-6800


                       NES
                       29125 Solon Road
                       Solon, OH 44139-3442


                       OWOSSO Eye Care
                       122 N Washington St
                       Owosso, MI 48867-2827


                       Performance Recovery
                       P.O. Box 9054
                       Pleasanton, CA 94566


                       RAB
                       P.O. Box 34111
                       Cordova, TN 38016


                       Sallie Mae
                       P.O. Box 3319
                       Wilmington, DE     19804


                       SENEX SERVICES CORP
                       333 FOUNDS RD
                       INDIANAPOLIS, IN 46268


                       Sparrow Health SYstems
                       3886 Solution Center
                       Chicago, IL 60677-3008


                       Sparrow Regional Labs
                       8123 Reliable Parkway
                       Chicago, IL 60686


                       State of Michigan Collections
                       P.O. Box 30785
                       Lansing, MI 48909


                       STATE of Michigan/Treasury
                       Lansing, MI 48922


                       U S Dept Of Ed/gsl/atl
                       Po Box 4222
                       Iowa City, IA 52244



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                       Us Dept Ed
                       Po Box 5609
                       Greenville, TX     75403




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Important Note: This is a custom local version of OF6 form as proscribed by MIE Local Rules
   B6 Declaration (Official Form 6 - Declaration) (12/07)

                        Michael D Bommer
                  In re _________________________________________ ,                                                                          Case No. ______________________________
                                       Debtor                                                                                                                     (if known)




                                 DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


                                                                                                               18 sheets, and that they are true and correct to the best of
       I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _____
   my knowledge, information, and belief.


         1/21/15
   Date __________________________________                                                                                        /s/ Michael D Bommer
                                                                                                                       Signature: ________________________________________________
                                                                                                                                                          Debtor

   Date __________________________________                                                                             Signature: ________________________________________________
                                                                                                                                                                  (Joint Debtor, if any)

                                                                                                                             [If joint case, both spouses must sign.]

                                      -------------------------------------------------------------------------------------------------------------------------------------------
                                DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided
   the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h) and 342(b); and, (3) if rules or guidelines have been
   promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition preparers, I have given the debtor notice of the maximum
   amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required by that section.

   _____________________________________________________                                             _____________________________
   Printed or Typed Name and Title, if any,                                                          Social Security No.
   of Bankruptcy Petition Preparer                                                                   (Required by 11 U.S.C. § 110.)
   If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
   who signs this document.
   _________________________________
   _________________________________
   _________________________________
   Address

   X _____________________________________________________                                                                         ____________________
    Signature of Bankruptcy Petition Preparer                                                                                      Date


   Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:

   If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


   A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
   18 U.S.C. § 156.
      --------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------

                        DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


       I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member or an authorized agent of the
   partnership ] of the ___________________________________ [corporation or partnership] named as debtor in this case, declare under penalty of perjury that I have
   read the foregoing summary and schedules, consisting of _____ sheets (Total shown on summary page plus 1), and that they are true and correct to the best of my
   knowledge, information, and belief.


   Date ______________________________________
                                                                                                           Signature: _____________________________________________________________

                                                                                                                          ____________________________________________________________
                                                                                                                            [Print or type name of individual signing on behalf of debtor.]

   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
    ----------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
   Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.


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B 8 (Official Form 8) (12/08)


                                                 UNITED STATES BANKRUPTCY COURT
                                                   EASTERN DISTRICT OF MICHIGAN
                                                         SOUTHERN DIVISION

In re Michael D Bommer                                                                                                Case No.
                                                                                                                      Chapter 13



                                                                                                           / Debtor




                                                     CHAPTER 13 STATEMENT OF INTENTION
       Part A -    Debts Secured by property of the estate. (Part A must be completed for EACH debt which is secured by property of the estate.
                   Attach additional pages if necessary.)


Property No.

Creditor's Name :                                                                 Describe Property Securing Debt :
 None



  Property will be (check one) :

            Surrendered               Retained

  If retaining the property, I intend to (check at least one) :

            Redeem the property

            Reaffirm the debt

            Other. Explain                                                                                      (for example, avoid lien using 11 U.S.C § 522 (f)).

  Property is (check one) :

            Claimed as exempt                   Not claimed as exempt


       Part B -    Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach
                   additional pages if necessary.)

Property No.
Lessor's Name:                                                      Describe Leased Property:                                          Lease will be assumed
                                                                                                                                       pursuant to 11 U.S.C. §
 None                                                                                                                                  365(p)(2):

                                                                                                                                           Yes               No




                                                                        Signature of Debtor(s)
        I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt
        and/or personal property subject to an unexpired lease.

Date: 01/22/2015                                                  Debtor: /s/ Michael D Bommer

Date:                                                             Joint Debtor:




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                                                        UNITED STATES BANKRUPTCY COURT
                                                      EASTERN     DISTRICT OF MICHIGAN


In re    Michael D Bommer                                                                                                  Case No.
                                                                                                                           Chapter    13
                                                                                                                           Hon.

                                                                                                                   / Debtor


                                                          STATEMENT OF ATTORNEY FOR DEBTOR(S)
                                                                 PURSUANT TO F.R.BANKR.P.2016(b)

        The undersigned, pursuant to F.R.Bankr.P.2016(b), states that:

1.      The undersigned is the attorney for the Debtor(s) in this case.

2.      The compensation paid or agreed to be paid by the Debtor(s) to the undersigned is: [Check one]

        [✔]           FLAT FEE

        A.            For legal services rendered in contemplation of and in connection with this case, exclusive
                      of the filing fee paid                                        3,000

        B.            Prior to filing this statement, received                                 0

        C.            The unpaid balance due and payable is                                   3,000

        [ ]           RETAINER

        A.            Amount of retainer received

        B.            The undersigned shall bill against the retainer at an hourly rate of                            . [Or attach firm hourly rate schedule.] Debtor(s)
                      have agreed to pay all Court approved fees and expenses exceeding the amount of the retainer.

3.      $                            of the filing fee has been paid.



4.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including: [Check any that apply.]

             ✔ A.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
             ✔ B.     Preperation and filing of any petition, schedules, statement of affairs and plan which may be required;
             ✔ C.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
               D.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
             ✔ E.     Reaffirmations;
             ✔ F.     Redemptions;
               G.     Other:

5.      By agreement with the debtor(s), the above disclosed fee does not include the following services:



6.      The source of the payments to the undersigned was from:

        A.             ✔       Debtor(s)' earnings, wages, compensation for services performed
        B.                     Other (describe, including the identity of payor)
7.      The undersigned has not shared or agreed to share, with any other person, other than with members of the undersigned's law firm or corporation,
        any compensation paid or to paid except as follows:




        Dated:      1/21/15                                                                         /s/ CURTIS L. ZALESKI
                                                                                                    Attorney for the Debtor(s) CURTIS L. ZALESKI
                 /s/ Michael D Bommer                                                           ASHLEY & ZALESKI,P.C.                         Bar #: P 53534
        Agreed: _________________________________________
                                                                                                535 EAST MAIN STREET                    Curtis@azlaw.us
                 Debtor Michael D Bommer
                                                                                                Owosso , Mi 48867
                    15-30151-dof               Doc 1       Filed 01/22/15             Entered 01/22/15 10:49:21
                                                                                           989/723-8166    Fax:                       Page 43 of 43
                 Debtor                                                                         Curtis@azlaw.us
